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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                         8:09CR48
                              )
          v.                  )
                              )
ISIDRO DUARTE-ANDRADE,        )                          ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

for leave to proceed in forma pauperis (Filing No. 153), and the

notice of appeal (Filing No. 152) in which he seeks to appeal

from the final order of this Court (Filing No. 149) denying his

motion for reconsideration in connection with his motion filed

pursuant to 28 U.S.C. § 2255 to vacate, set aside or correct his

sentence (Filing No. 140).      The Court finds the motion for leave

to proceed in forma pauperis should be granted.

           However, Title 28, U.S.C. § 2253(c) provides that

unless a certificate of appealability is issued by either a

circuit justice or this court, an appeal may not be taken from a

final order in a proceeding under § 2255.             In his plea agreement,

the defendant waived all of his rights to appeal his conviction

or sentence, and also has waived his rights to file a post-

conviction motion addressing either his conviction or sentence,

accordingly the Court denied his motion for § 2255 relief.                 For
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the same reasons, the Court will decline to grant a certificate

of appealability.       Accordingly,

           IT IS ORDERED:

           1) Defendant’s motion for leave to proceed in forma

pauperis is granted.

           2) No certificate of appealability will issue in this

case.

           DATED this 25th day of March, 2010.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




                                       -2-
